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FILED

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA OCT 30 2017
Clerk, U.S. District & Bankruptcy
UNITED STATES OF AMERICA Courts for the District of Columbla
Vv.
PAUL J. MANAFORT, Jr., and Crim. No. 17-201 (ABJ/DAR)

RICHARD W. GATES III

Defendants

 

 

GOVENRMENT’S MOTION TO UNSEAL THE INDICTMENT

The government respectfully moves the Court to unseal the redacted version of the
indictment returned in the above-captioned case on October 27, 2017, as well as the accompanying
arrest warrants. Upon the return of the indictment, this Court entered an order sealing those
materials until at least one of the defendants named in the indictment was custody, at which time
the materials would “be unsealed.” See Oct. 27 Order. In accordance with that Order, the redacted
indictment was unsealed by the Special Counsel’s Office when the defendants were in custody
after self-surrendering earlier on this date. In an abundance of caution, however, the government
now seeks an order ensuring that both the redacted indictment and the accompanying arrest
warrants are unsealed and made available on the public docket.

A proposed order accompanies this motion.

Respectfully submitted,

ROBERT S. MUELLER III
Special Counsel

Dated: October 30, 2017 By: /s/
Andrew Weissmann
Greg D. Andres
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